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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                 Plaintiff,
v.                                                    Case Number: 8:11CR294-003
                                                      USM Number: 24355-047
KYLE J. KRUGER,
                       Defendant.
                                                       MATTHEW R. KAHLER
                                                       Defendant’s Attorney

                              JUDGMENT IN A CRIMINAL CASE
                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of the mandatory condition of the term of supervision
which states the defendant shall not commit another federal, state, or local crime..

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                                               Date Violation
   Violation Number                    Nature of Violation                      Concluded


           6                           Misdemeanor Theft                     November 25, 2013

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

The Petition for Offender, Filing No. 101; the Amended Petition for Offender, Filing No. 119; and
Allegations 1-5 of the 2nd Amended Petition for Offender, Filing No. 126, are withdrawn on the
motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of
this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405 (Revised
DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                     April 3, 2014

                                                                            s/ Joseph F. Bataillon
                                                                      United States District Judge

                                                                                      April 3, 2014
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Defendant: KYLE J. KRUGER                                                                     Page 2 of 3
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                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twelve (12) months and one (1) day.

The Court makes the following recommendations to the Bureau of Prisons:

1.       That the defendant be incarcerated in a federal facility as close to Fremont, NE as possible.

2.       Defendant shall be given credit for time served.

         (X)      The defendant is remanded to the custody of the United States Marshal.


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                                _____________________________
                                                                        Signature of Defendant

                                              RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                         __________________________________
                                                                UNITED STATES WARDEN

                                                      By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                           CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                      By:__________________________________
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                                       SUPERVISED RELEASE

The defendant’s current term of supervised release is revoked. No further term of supervised
release is imposed.


                                CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

        Total Assessment                          Total Fine                 Total Restitution

    $100.00 (PAID IN FULL)                                               $1,823.42 (PAID IN FULL)




                                                    FINE

         No fine imposed.

                                              RESTITUTION

         Restitution in the amount of $1,823.42 has been paid in full.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
